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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="43cd5f7244"&gt;&lt;span data-sentence-id="35aa01b73c" quote="false" data-paragraph-id="43cd5f7244"&gt; Noel West Lane, III, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="0b7cc367f6" quote="false" data-paragraph-id="43cd5f7244"&gt; &lt;br /&gt; Matthew Curtis Witt.&lt;/span&gt; Respondent &lt;/p&gt;&lt;p data-paragraph-id="07072d13a6"&gt;No. 22SC224&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1d582eef7d"&gt;July 25, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="1f11fd9716"&gt;&lt;span data-sentence-id="74b4faf91d" quote="false" data-paragraph-id="1f11fd9716"&gt; Court of Appeals Case No. 20CA1068 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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